Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 1 of 37




                              EXHIBIT 1
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 2 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 3 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 4 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 5 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 6 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 7 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 8 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 9 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 10 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 11 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 12 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 13 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 14 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 15 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 16 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 17 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 18 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 19 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 20 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 21 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 22 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 23 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 24 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 25 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 26 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 27 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 28 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 29 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 30 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 31 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 32 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 33 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 34 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 35 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 36 of 37
Case 4:17-cr-00514   Document 424-1   Filed on 04/19/23 in TXSD   Page 37 of 37
